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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

  UNITED STATES OF AMERICA.

                 Plaintiff,                              Case No. 3:21-cv-293

          v.                                             Judge Thomas M. Rose

  RAFAEL A. CANIZALES,                                   Magistrate Judge Caroline H. Gentry

                 Defendant.




          ENTRY AND ORDER GRANTING JOINT MOTION FOR ENTRY OF
        JUDGMENT (DOC. NO. 10) AND ENTERING EXECUTED STIPULATED
                             FINAL JUDGMENT


        This case is before the Court on the parties' Joint Motion for Entry of Judgment (Doc. No.

10). The parties ask the Court to enter judgment in favor of the United States and against Rafael

A. Canizales in the amount of $50,499.87, for the non-willful FBAR penalties for 2011 and 2012,

plus statutory additions and interest, and penalties for late payment under 31 U.S.C. § 3717(e)(2),

as of October 21, 2021, until paid. The parties attached to the motion a proposed stipulated final

judgment. (Doc. No. 10-1.)

       The Court GRANTS the Joint Motion for Entry of Judgment (Doc. No. 10) and enters an

executed copy of the Stipulated Final Judgment submitted by the parties. The Court DIRECTS

the Clerk of Court to terminate this case on the Court's docket.

       DONE and ORDERED in Dayton, Ohio, this Wednesday, March 9, 2022.

                                                                   s/Thomas M. Rose

                                                                THOMAS M. ROSE
                                                          UNITED STATES DISTRICT JUDGE
